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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION
 SECURITIES AND EXCHANGE                    )
 COMMISSION,                                )
                                            )
                     Plaintiff,             )
                                            )
 v.                                         )
                                            )
 HOPE ADVISORS, LLC,                        )
 KAREN BRUTON,                              )
 TODD WORTMAN, and                          )     Case No. 1:16-CV-01752-LMM
 DAWN ROBERTS,                              )
                                            )
                     Defendants,            )
                                            )
 and                                        )
                                            )
 JUST HOPE FOUNDATION,                      )
                                            )
                     Relief Defendant.      )
                                            )

       JOINT MOTION TO STAY OR ADMINISTRATIVELY CLOSE

       Plaintiff Securities and Exchange Commission (“SEC”) and Defendants

Hope Advisors, LLC, Karen Bruton, Todd Wortman and Dawn Roberts, (together,

the “Parties”), jointly move to stay or administratively close this case while the

staff of the SEC pursues approval of settlement offers made by the Defendants. In

support of their Joint Motion, the Parties state as follows:

       1.    Discovery is set to expire in this matter on June 18, 2018.
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      2.      The representatives of the Parties have reached an agreement in

principle to settle this matter as to all Defendants, whereby the staff of the SEC

will recommend that the SEC approve settlement offers made by the Defendants.

No such settlements can be finalized, however, until they have been formally

approved by the SEC pursuant to a staff recommendation. The recommendation

process takes approximately 8 weeks.

      3.      The Parties desire to save the time and expense that would need to be

incurred by continuing to litigate this matter during the recommendation process.

      WHEREFORE, the Parties respectfully request that the Court stay or

administratively close this case until fourteen days after the SEC has made a

decision on the staff’s recommendation to approve the Defendants’ settlement

offers.




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      Respectfully submitted this 14th day of June, 2018.

/s/ Mary C. Gill              /s/ Craig H. Kuglar           /s/ Joshua A. Mayes
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Attorneys for Defendants
Hope Advisors, LLC and
Karen Bruton




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                      CERTIFICATE OF COMPLIANCE
      I hereby certify that, pursuant to Local Rules 5.1C and 7.1D of the United

States District Court for the Northern District of Georgia, the foregoing Joint

Motion to Amend the Scheduling Order was prepared in Times New Roman 14

point font, double-spaced, with a top margin of not less than 1.5 inches and a left

margin of not less than 1 inch.

      This 14th day of June, 2018.


                                      /s/ Joshua A. Mayes
                                      M. Graham Loomis
                                      Ga. Bar No. 457868
                                      Joshua A. Mayes
                                      Ga. Bar No. 143107
                                      Robert Gordon
                                      Ga. Bar No. 302482
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                                      Attorneys for Plaintiff Securities and
                                      Exchange Commission
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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 14th day of June, 2018, I caused a copy of the

foregoing to be electronically filed with the Clerk of Court using the CM/ECF

system, which will automatically send an email notification of such filing to all

attorneys of record in the above-referenced action.

                                           /s/ Joshua A. Mayes
                                           M. Graham Loomis
                                           Ga. Bar No. 457868
                                           Joshua A. Mayes
                                           Ga. Bar No. 143107
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                                           Attorneys for Plaintiff Securities and
                                           Exchange Commission
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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
SECURITIES AND EXCHANGE                )
COMMISSION,                            )
                                       )
                   Plaintiff,          )
                                       )
v.                                     )
                                       )
HOPE ADVISORS, LLC,                    )
KAREN BRUTON,                          )
TODD WORTMAN, and                      )     Case No. 1:16-CV-01752-LMM
DAWN ROBERTS                           )
                                       )
                   Defendants,         )
                                       )
 and                                   )
                                       )
 JUST HOPE FOUNDATION,                 )
                                       )
                   Relief Defendant.   )

     [PROPOSED] ORDER GRANTING JOINT MOTION TO STAY OR
                  ADMINISTRATIVELY CLOSE

       This cause is before the Court on the parties’ Joint Motion to Stay or

Administratively Close this matter in light of a proposed settlement.    Having

considered and for good cause shown, IT IS HEREBY ORDERED as follows:

       1.   The parties’ Joint Motion is GRANTED;
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      2.    This matter shall be [stayed] [administratively closed] until 14

(fourteen) days after the Securities and Exchange Commission has acted on its

staff’s recommendation to approve the proposed settlements in this matter.

      3.    Counsel for the Securities and Exchange Commission shall promptly

notify the Court and the Defendants once the Commission has made a decision on

the proposed settlements.

      SO ORDERED, this ______ day of _____________, 2018.



                                            ___________________________
                                            Honorable Leigh Martin May
                                            United States District Judge




                                        2
